
306 A.2d 199 (1973)
Petition of the RHODE ISLAND BAR ASSOCIATION.
No. 1156-M. P.
Supreme Court of Rhode Island.
June 28, 1973.
Daniel J. Murray, John H. Blish, A. David Tammelleo, Providence, Paul F. Murray, Newport, for petitioner.
Oliver P. Crandall, Westerly, Ronald W. Del Sesto, Thomas D. Gidley, Albert A. Nutini, John J. Pendergast, III, Providence, for respondent.

ORDER
Upon further consideration of and in supplement to the order entered in Petition of the Rhode Island Bar Association, 108 R.I. 947, 279 A.2d 432 (1971), the petition for unification of the Rhode Island bar is granted, to become effective October 1, 1973, upon the express condition that no member of the association shall be suspended or removed from membership until such action has been expressly approved by the Supreme Court.
The Rhode Island Bar Association is directed to file with the Clerk of this court a certified copy of its constitution and bylaws, and to file, from time to time, certified copies of any amendments made thereto.
POWERS, J., participated in the order but retired prior to its announcement. DORIS, J., did not participate.
